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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


    DR. GEORGE RICHARDSON, et al.                  §
                                                   §
    Plaintiffs,                                    §
                                                   §   Civil Case No. 5:19-cv-00963
    v.                                             §
                                                   §
    TEXAS SECRETARY OF STATE, et                   §
    al.,                                           §
                                                   §
    Defendants.                                    §

                            MOTION TO INTERVENE BY
                   PLAINTIFFS IN FLORES, ET AL. V. HUGHS, ET AL.

          Federico Flores, Jr., Maria Guerrero, and Vicente Guerrero, (collectively

“Intervenors” or “Flores Plaintiffs”) move to intervene in this case, pursuant to Federal

Rule of Civil Procedure 24(b) and the first to file rule, based on their claims already

brought in Flores et al. v. Hughs et al., No. 7:18-cv-00113 (S.D. Tex. 2018) (the “Flores

Litigation”) (Docket sheet) (Exhibit 1). Intervenors have been litigating substantially

similar issues against the Secretary of State for over two years in the Southern District of

Texas, and have had a substantially similar motion for summary judgment on file for

over one year. Their intervention in this lawsuit presently seeks only a temporary stay

pursuant to the first-to-file rule pending decision in the Flores Litigation.1

          Counsel for Intervenors has conferred with counsel for the existing Parties

regarding this motion.           Defendant Perla Lara, in her official capacity as the City

Secretary of the City of McAllen, Texas, is unopposed. Counsel for Intervenors e-mailed

the Secretary of State’s counsel in the Richardson Litigation on August 19, 2020 (the


1   See Exhibit 2 (Intervenors’ Motion for Stay)

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date of this filing), and has not received an indication. However, Intervenors’ counsel

has conferred extensively with the Secretary’s counsel in the Flores Litigation and has

been assured that the Secretary opposes all opportunities for Intervenors to acquire

relief. Consequently, Intervenors consider the Secretary opposed. All other counsel

have indicated that they are opposed.

                                          INTRODUCTION

         A prospective party may seek to intervene as of right in certain specific

circumstances, or may seek permissive intervention. Federal Rule of Civil Procedure

24(b) governs permissive intervention, and provides that “[o]n timely motion, the court

may permit anyone to intervene who: ... (B) has a claim or defense that shares with the

main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). Permissive

intervention is a matter “wholly discretionary with the [district] court ... even though

there is a common question of law or fact, or the requirements of Rule 24(b) are

otherwise satisfied.” New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d

452, 470-71 (5th Cir. 1984).           However, “[R]ule 24 is to be construed liberally, and

doubts resolved in favor of the proposed intervenor.”             In re Lease Oil Antitrust

Litigation, 570 F.3d 244, 248 (5th Cir. 2009) (internal citations and punctuation

omitted).      Intervention is intended to prevent multiple lawsuits when common

questions of law or fact are involved. Deus v. Allstate Ins., 15 F.3d 506, 525 (5th Cir.

1994).

                                           BACKGROUND

   I.    The First Filed Lawsuit

         Intervenors’ lawsuit was initially removed to the Southern District of Texas on

April 14, 2018. Flores Litigation ECF No. 1 (Exhibit 1). The First Amended Complaint

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adding the voter-Plaintiffs was filed November 30, 2018 (Flores Litigation ECF No. 1

(Exhibit 1)), and all parties renewed their dispositive motions on November 30, 2018.

Flores Litigation ECF Nos. 22-24 (Exhibit 1). The court set a hearing to consider those

motions on March 19, 2019. At the March hearing, the Court declined to rule on the

Parties’ motions and instead set another hearing and allowed for the Parties to conduct

additional discovery. Flores Litigation ECF Nos. 17-19 (Exhibit 1).

        All parties filed amended motions on the deadline for dispositive motions on July

29, 2019. Flores Litigation ECF Nos. 65-67 (Exhibit 1).

        The Flores court once again held a hearing regarding the Parties’ motions on

October 10, 2019. Flores Litigation ECF No. 80 (Exhibit 1). During that hearing, the

court recognized the weight of federal case law holding that mail-ballot signature-

matching regimes like Texas’s—lacking an adequate notification and cure procedure that

would allow the voter to ensure his or her ballot is counted in the election—violate due

process.      The court also recognized the gravity of the underlying right at risk of

deprivation by these inadequate procedures: the right to vote.        While the Secretary

argued that the ability of the “county election officer” to seek an injunction at his or her

discretion under current Election Code § 87.127(a) offered an adequate procedural

protection for the voter, the court rejected that argument. The court recognized—as the

Flores Plaintiffs had pointed out—that the ability of the “county election officer” (not the

voter) to potentially (in his or her discretion) petition a court for the extraordinary

remedy of an injunction was an “inadequate” protection, Flores Hearing Trans. (Oct. 16,

2019) at 8:24 (Exhibit 3), both because there is no guarantee of timely notice under

Texas’s statutory regime, id., and even if there were, the suggested remedy is not

available to the individual voter, id. at 4:10-25 (“The State statute doesn’t provide any

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personal remedy to you other than maybe somebody might make the Complaint….

[T]here’s nothing left to the individual voter.”).

        Rather than issue an order at that hearing, the court extended an opportunity to

the Secretary of State to further digest the case law, strongly suggesting that the

Secretary should explore the possibility of reaching a settlement with the [Flores]

Plaintiffs “to try to fix this for the future and everybody else, including [the Flores

Plaintiffs].”2    The court set a status conference for December 12, which was then

canceled (on December 9) and re-set for March 25, 2020.

        At the third motions hearing on March 25, 2020, Judge Hinojosa denied the

dispositive motions filed by the Secretary and the EVBB Defendants.3 While the Court

recognized that “all that can be said here is that [Texas Election Code §87.127(a) is] an

unconstitutional provision,” Flores Hearing Trans. (Oct. 16, 2019) at 24:22-25 (Exhibit

3), it did not grant Plaintiffs’ motion in favor of further briefing on the appropriate

remedy. Id. at 27:21-25; 28:1-3. At this hearing, Judge Hinojosa indicated that he was

not likely to rule prior to the July 2020 runoff elections.

        Pursuant to the court’s request for further remedy briefing, Plaintiffs filed their

Second Amended Motion for Summary Judgment on April 1, 2020, describing the

precise remedy they propose—a simple cure declaration to be executed by a voter whose

ballot has been slated for rejection for signature discrepancy. Flores Litigation ECF No.

94 (Pls.’ Sec. Am. Mot. for Summ. J.) (Exhibit 4). Plaintiffs submitted a proposed form

cure declaration to the court. The Secretary and the EVBB Defendants responded to the



2Flores Hearing Trans. (Oct. 16, 2019) at 26:5-9 (Exhibit 3).
3While the court granted EVBB’s Defendants’ motion in part on their claims for qualified immunity, it
denied it as to the claims in their official capacity. See Flores Litigation ECF docket entry (Mar. 25, 2020)
(Exhibit 1).

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Flores Plaintiffs’ proposed remedy, and briefing on the remedy was completed with the

filing of Plaintiffs’ reply on April 29, 2020. Flores Litigation ECF No. 99 (Exhibit 1).

        On May 1, 2020, Starr County Democratic Party (“SCDP”) moved to intervene in

order to seek an injunction in advance of the July 2020 primary runoff elections.

Flores Litigation ECF No. 70 (Exhibit 1). SCDP made clear that it was not seeking to

add any claims or arguments, but instead expressly adopted the Flores Plaintiffs’

position and proposed remedy. Id. at 6-7. The Flores Plaintiffs filed a motion for entry

of judgment on June 2, 2020. Flores Litigation ECF No. 107. Judge Hinojosa has not

yet ruled on SCDP’s motion to intervene, but Intervenors anticipate a ruling soon, as the

July Runoffs have now been conducted. Intervenors are filing a motion in the Flores

Litigation this week as well, seeking entry of judgment and, if necessary to provide

Judge Hinojosa time to resolve the case, a stay of the litigation of this claim in this court

until he issues his judgment.


  II. The Richardson Litigation

        Sixteen months after the Flores Litigation was filed, a complaint was filed in this

Court against the Texas Secretary of State, the Brazos County Elections Administrator,

and the McAllen City Secretary. (Richardson Litigation ECF No. 1) (“Richardson

Litigation”). Like the Flores Litigation, this lawsuit also challenges the Election Code’s

signature mismatch provisions as violative of voters’ due process rights under the

Fourteenth Amendment.              Id. at 18-24.   The Richardson Plaintiffs argue that the

signature mismatch provisions violate equal protection, the Americans with Disabilities

Act, and the Rehabilitation Act of 1973. Id. at 21-24




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        On June 22, the parties filed cross motions for summary judgment. Richardson

Litigation ECF No. 64-70. In her motion, the Secretary argues that Plaintiffs lack

standing because they cannot show associational standing, or cannot show causation

and redressability in regards to their claims against the Secretary.           Richardson

Litigation ECF No. 70 at 25-26.        The Secretary further argues that, even if the

Richardson Plaintiffs had standing that under the Anderson-Burdick test, the signature

mismatch provisions do not impose a severe burden on voters’ rights, are supported by

an important interest in election integrity, and adequate alternative processes exist in

the form of an election contest and Texas Election Code § 87.217(a). Id. at 22-27. While

the Secretary addresses the Richardson Plaintiffs’ claims under the Equal Protection

Clause and the ADA, this is dispensed of briefly. Id. at 28-31.

        Likewise, the Richardson Plaintiffs’ motion for summary judgment places the

same due process concerns at the forefront: The fact that “Texas’s current election

system leaves mail-in voters vulnerable to the outright violation of their fundamental

right to vote by forcing their ballots to undergo an arbitrary and error-prone signature

comparison procedure that provides no meaningful notice and cure protections.”

Richardson Litigation ECF No. 65 at 1.           Principally amongst their claims, the

Richardson Plaintiffs assert their right to vote is at risk of erroneous deprivation and, as

there is no sufficient remedy process, “the Texas Election Code violates the Due Process

Clause of the Fourteenth Amendment, the Equal Protection Clause of the Fourteenth

Amendment, the ADA, and the RA.” Id. at 29. Just as was the case in the Flores

litigation, the Richardson Plaintiffs’ motion argues that Mathews and not Anderson-

Burdick is the appropriate standard. Id.



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        Despite the Richardson Plaintiffs’ vast legal resources, it was not until June 22,

2020, that Plaintiffs in this lawsuit filed for summary judgment. Id. That is, more than

one year after Intervenors’ outstanding motion had been filed.

                                       ARGUMENT

I.      Common Questions of Law or Fact

        “The decision to permit intervention under Rule 24(b)(2) requires a threshold

determination that the applicant’s claim or defense and the main action have a question

of law or fact in common.” Newby v. Enron Corp., 443 F.3d 416, 421 (5th Cir. 2006)

(internal quotations omitted).

        This requirement is easily met here. Intervention is sought only to stay identical

constitutional claims the Plaintiffs here have asserted against the same principal

defendant (the Secretary of State).

        The arguments made by the Secretary of State, with regards to voters’ due

process, have already been disposed of by the Flores court when it rejected the

Secretary’s motion for summary judgment. Relying principally on Crawford v. Marion

Cty. Election Bd., 553 U.S. 181 (2008), the Secretary reasserted in her motion for

summary judgment here (filed on June 22, 2020) that any burdens on voting rights are

not severe because they are no worse than those placed on in person voting. Richardson

Litigation ECF No. 70, at 25. This is the exact argument made—almost verbatim—by the

Secretary in her motion for summary judgment, filed in the Flores Litigation on July 29,

2019—an argument already denied by the Flores court. Flores Litigation ECF No. 65 at

15 (Def. Tex. Sec. of State’s First Am. Mot. for Summ. J.) (Exhibit 5). The Secretary

also relies on the same important interests—“integrity of the election process”—in both

cases to justify the burdens placed on voters. See e.g. Richardson Litigation ECF No.

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70, at 25-26. Further, despite the fact that the Flores court already flatly stated that

Texas Election Code § 87.127(a)’s procedure “doesn’t even come close, to satisfying the

ability to have some procedural due process, Flores Hearing Trans. (Oct. 16, 2019) at

5:17-21 (Exhibit 3), the Secretary still relies on this as an “alternate process” in its

motion here. Richardson Litigation ECF No. 70 at 27. The Secretary’s due process

arguments currently being asserted here have already been rejected by the Flores court

when it denied her motion for summary judgment and began remedy briefing in the

Flores litigation.      That briefing has been completed since April 29, 2020.             Flores

Litigation ECF No. 99 (Exhibit 1).

        Because the Intervenors’ claims substantially overlap with the litigation, the

threshold requirement is met.

II.     Intervention Is Timely.

        The Fifth Circuit examines timeliness according to four factors:

        (1) the length of time during which the intervenor actually knew or
        reasonably should have known of his interest in the case; (2) the extent of
        prejudice to the existing parties to the litigation; (3) the extent of prejudice
        to the would-be intervenor; and (4) unusual circumstances.

Adam Joseph Res. v. CNA Metals Ltd., 919 F.3d 856, 865 (5th Cir. 2019).                     “The

requirement of timeliness is not a tool of retribution to punish the tardy would-be

intervenor, but rather a guard against prejudicing the original parties by failure to apply

sooner[.] Id. “Federal courts should allow intervention ‘where no one would be hurt

and greater justice could be attained.’” Id. (quoting Sierra Club v. Espy, 18 F.3d 1202,

1205 (5th Cir. 1994)).

        The parties in the instant case have just recently briefed their motions and this

Court has not yet ruled.           The Secretary makes the same arguments defending the


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statutes as she made in the Flores Litigation. Intervenors seek to apprise this Court that

these arguments have already been filed and rejected by Judge Hinojosa, who denied

the Secretary’s summary judgment motion and denied the dispositive motion filed by

the Starr County Defendants. See Flores Litigation ECF docket entry (Mar. 25, 2020)

(Exhibit 1).

        While Intervenors would be severely prejudiced if denied the ability to seek the

appropriate relief already litigated by them, the Parties here will suffer no prejudice if

the Flores Plaintiffs are allowed to intervene and temporarily stay the instant litigation.

If permitted to intervene, Intervenors seek only to stay this Court’s determination of the

currently outstanding cross-motions for summary judgment temporarily until their

first-filed claims asserted in their Second Amended Motion for Summary Judgment

(incorporating evidence and arguments submitted in Docs. 67, 76, and 77) have been

adjudicated. Flores Litigation ECF No. 94 (Exhibit 4).

        a. Length of time since learning of interest in the action.

        The Richardson Plaintiffs filed their complaint in August 2019 and subsequently

filed their motion for summary judgment on June 22, 2020. While Intervenors were

aware of this litigation in early 2020, they also knew that the court of first-filed had

already indicated in October 2019 that the challenged laws were unlikely to be upheld

and had urged the Secretary of State’s office to work with the Intervenors on a

resolution. Not only has the Secretary refused to do so, but now it is clear she continues

to lodge substantive defenses of the statutes in her recently filed briefs here that have

already been rejected by another federal court.

        Given the fact that the first-filed suit was filed over a year before the Richardson

suit, Judge Hinojosa had denied the Flores defendants’ motions in March, and

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requested remedy briefing which was completed in April, the need for intervention here

was not apparent until more recently, given the substance of the Secretary’s repeated

arguments with no mention of the Flores Litigation. However, now that the Parties here

have filed and briefed dispositive motions, the Flores Plaintiffs must protect their

interests by intervening into this case in order to secure a stay so that they may reach a

judgment in the Flores Litigation. Intervenors’ constitutional rights have been violated

numerous times during elections over the past year, and removing their ability to obtain

relief of their own making on account of a later filed suit brought by others would serve

to usurp their right to exercise control over the appropriate relief.

        b. Prejudice to existing parties if intervention is allowed.

        The relevant prejudice inquiry is whether the existing parties would be

prejudiced by the intervenor’s delay in seeking intervention—if any—“not the

inconvenience to the existing parties of allowing the intervenor to participate.” Adam

Joseph Resources, 919 F.3d at 865; In re Oil Antitrust Litigation, 570 F.3d at 248 (“Any

potential prejudice caused by the intervention itself is irrelevant, because it would have

occurred regardless of whether the intervention was timely …. The only proper concern

is how much more prejudice would come from Texas’s intervening in January 2008

compared to its intervening in March 2006.”).

        Parties to the instant lawsuit cannot claim prejudice by the proposed intervention

of the Flores Plaintiffs, given that the Intervenors do not seek to add any argument or

otherwise expand the scope of the litigation. Rather, Intervenors seek only a temporary

stay of the instant litigation so that their first-filed suit’s outstanding motions may be

resolved. Once a judgment has been reached, as is imminent, the Richardson lawsuit

will be free to continue. Further, as Intervenors’ suit seeks the same relief as Plaintiffs

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here and have already overcome the Flores Defendants’ dispositive motions,

Intervenors’ stay may actually further the Richardson Plaintiffs’ interests.

        Likewise, the Defendants here are not being asked to litigate additional claims,

but merely to allow the first-filed suit to reach its ruling on their motion. Defendants

have already been litigating the potential unconstitutionality of the Election Code’s

mismatch provision and will suffer no additional harm whether the first-filed suit or this

lawsuit is decided in favor of the Intervenors or not. Defendants will also suffer no

prejudice as the Secretary of State is the principle defendant in both Richardson and

Flores and has had the opportunity to present her arguments in each lawsuit. In fact,

despite the second chance the Richardson Litigation has presented (after the Secretary’s

arguments were denied in Flores), the Secretary has merely repeated the same

arguments. It is in the interest of the Secretary, and certainly of the taxpayers, to avoid

duplicative litigation of the same issues.

        Because Intervenors propose to intervene simply to temporarily stay these

proceedings, no discovery or further actions should be necessary. Once their relief has

been acquired or denied, the Richardson Plaintiffs and this Court will be able to

continue if so required.

        For these reasons, this factor weighs exclusively in favor of intervention.

        c. Prejudice to Intervenors if its motion to intervene is denied.

        To determine potential prejudice to Intervenors if intervention is denied, the

court examines the opportunities Intervenors would have to seek the same relief if it

cannot intervene. In re Lease Oil Antitrust Litigation, 570 F.3d at 249.

        Without intervention and a subsequent stay, Intervenors may lose the ability to

exercise control over the cure to signature mismatch provisions despite diligently

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litigating these provisions for over two years. As the first-filed plaintiffs, the Flores

Plaintiffs hold a particular and unique interest in acquiring the remedy they have

sought.

        d. Unusual circumstances

        Sometimes, “unusual circumstances” can weigh in favor of or against the

intervention. See Adam Joseph Resources, 919 F.3d at 866; In re Lease Oil Antitrust

Litigation, 570 F.3d at 250. There are several circumstances here that weigh in favor of

the intervention.

        The first is the public interest in ensuring a sufficient cure process regarding mail

ballots slated for rejection for signature issues in upcoming elections, this is especially

true given the anticipated uptick in the number of Texas voters who will choose to vote

by mail during the coronavirus pandemic. The Intervenors have a pressing interest in

securing relief before further votes are thrown out without a constitutionally sufficient

cure process; a process that they have worked on for well over a year and will therefore

be better situated to resolve. This is true in any election; it is more acute at this

particular moment as more voters may wish to avail themselves of mail-in balloting. As

the first-filed suit has already briefed and considered a cure procedure to the potentially

unconstitutional provisions of the Election Code, that court is better situated to quickly

afford relief as is imperative with the impending November elections.

        The second unusual circumstance is the fact that, while it proceeds in analyzing

the proposed remedy, the court in the first-filed suit has already strongly indicated that

Texas’s current process is invalid, just as has been held in all the other states where this

issue has been litigated. Given the likely increased importance of mail balloting as an

option for voters in the next several months, and the Flores court’s recognition that the

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current process violates voters’ rights after almost a year of considering and repeated

hearings, Intervenors believe that they are best situated in seeking the appropriate

remedy.

        Lastly, the only reason that Intervenors seek this intervention and stay is because

their motion for summary judgment on the same issue against the same principle

Defendant has been on file for more than a year and has been subsequently briefed

regarding the appropriate remedy. Now on the eve of judgment, these suits act as an

extreme example of the first to file rule’s intended purpose.

                                         PRAYER

        For the above reasons, Intervenors respectfully request that the Court permit

them to intervene, and file the accompanying Motion for Stay (attached hereto as

Exhibit 2) in the case.




                                          Respectfully submitted,

                                          /s/Austin Whatley
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                                   CERTIFICATE OF CONFERENCE

        Counsel for Intervenors has conferred with counsel for the existing Parties
regarding this motion. Defendant Perla Lara, in her official capacity as the City
Secretary of the City of McAllen, Texas, is unopposed. Counsel for Intervenors e-mailed
the Secretary of State’s counsel in the Richardson Litigation on August 19, 2020 (the
date of this filing), and has not received an indication. However, Intervenors’ counsel
has conferred extensively with the Secretary’s counsel in the Flores Litigation and has
been assured that the Secretary opposes all opportunities for Intervenors to acquire
relief. Consequently, Intervenors consider the Secretary opposed. All other counsel
have indicated that they are opposed.

                                                                /s/ Austin Whatley
                                                                Austin Whatley


                                       CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on August 19, 2020, the foregoing
document, along with any exhibits and proposed order, was served on all counsel of
record in this matter by means of the court’s CM/ECF system.

                                                                /s/ Austin Whatley
                                                                Austin Whatley




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